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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

NUANCE COMMUNICATIONS, INC.,
Plaintiff,
v.

ABBYY USA SOFTWARE HOUSE, INC., a
Califomia corporation, ABBYY SOFTWARE,
LTD., a Cyprus corporation, ABBYY
PRODUCTION, LLC, a Russian corporation, and
LEXMARK INTERNATIONAL, INC., a
Delaware corporation,

Defendants.

 

 

 

CORRECTED STIPULAT|ON AND _
Case No. 3:08-cv-02912 JSW (MEJ)
sf-3322107

case No. c 08-02912 JSW MEJ
coRREcTED sTIPULATIoN
ANl) [BRQPQSE.I)] 0RDER
REGARDING coRRECTED
Al)MIssIoN oF TRIAL
EXHIBIT 1109

RDER RE: TRIAL EXHIBIT l 109

 

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Plaintif‘f Nuance Communications, Inc. (“Nuance”), and Defendants ABBYY Software
House, Inc., ABBYY Sofi:ware, Ltd., ABBYY Production, LLC, and Lexmark Intemational, Inc.
(collectively, “Defendants”, and together with Nuance, “Parties”) stipulate and agree as follows:

1. On Monday, August 12, 2013, while Dr. Lopresti was on the stand, Nuance
introduced and entered into evidence Trial Exhibit 1109, which is a certified copy of the ‘342
patent reexamination file history;

2. Nuance inadvertently provided the Court with an incomplete copy of Trial
Exhibit 1109 for admission into evidence;

3. The Parties agree that a full version of Trial Exhibit 1109 should be admitted into
evidence in place of the incomplete version;

4. The Parties request that the Court replace the incomplete version of Trial
Exhibit 1109, currently in evidence, with an updated and complete version of Trial Exhibit 1109;
and

5. The Parties further request that the updated and complete version of Trial
Exhibit 1109 be deemed admitted on Monday, August 12, 2013.

IT IS SO STIPULATED.

Dated: August 20, 2013 MORRISON & FOERSTER LLP

By: /s/ Brooks M. Beard
BROOKS M. BEARD

Attomeys for Plaintiff
NUANCE COMMUNICATIONS,
INC.

CORRECTED STlPuLA'noN AND [PRePesi:-D] ORDER RE: TRlAL EXHIBlT 1 109
Case No. 3:08-cv-02912 JSW (MEJ)
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Dated: August 20, 2013

CORRBCTED STlPULATroN AND
Case No. 3108-cv-02912 JSW (MEJ)
sf-3322107

FINNEGAN, HENDERSON, FARABOW,
GARRETI` & DUNNER, LLP

By: /s/ Erik R. Puknys
Erik R. Puknys

Attomeys for Defendants

ABBYY USA SOFTWARE HOUSE,
INC., ABBYY SOFTWARE, LTD.,
ABBYY PRODUCTION, LLC, and
LEXMARK INTERNATIONAL, INC.

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ORDER

Pursuant to stipulation of all parties, the incomplete version of Trial Exhibit 1109 that was
entered into evidence on Monday, August 12, 2013, shall be replaced with the updated and
complete version of Tria[ Exhibit 1109. The updated and complete version ofTrial Exhibit 1109
shall be deemed admitted on Monday, August 12, 2013.

IT IS SO ORDERED.

Dated: k day _K_ ,Lq_ ";,0 1'3

 

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